LUMO E TACT Meee CILLA AM Ce] meer: {oe

Debtor 4 7 KAY ) R~|p v WS laf € j

First Name Middle Name Last Name
Debtor 2
(Spouse, if filing) First Name Middle Name Last Name
United States Bankruptcy Court for the: District of

Case number Z Q- 990 3 3

(If known)

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

L) Check if this is an
amended filing

04/19

Be as complete and accurate as possible. If two married people are filing together, both are equally responsible for supplying correct
information. If more space is needed, attach a separate sheet to this form. On the top of any additional pages, write your name and case

number (if known). Answer every question.

Give Details About Your Marital Status and Where You Lived Before

i 41. What is your current marital status?

w Married
O1 Not married

2. During the last 3 years, have you lived anywhere other than where you live now?

| LC No

A Yes. List all of the places you lived in the last 3 years. Do not include where you live now.

Debtor 1: Dates Debtor1 Debtor 2:
lived there

QO Same as Debtor 1

Dates Debtor 2
lived there

Q same as Debtor 1

From

Number Street Number Street
To

So 2 kK ING Stood $7 From ogllB
: 08)}4

To

mz (6929

Du RAND

City State ZIP Code City

CJ Same as Debtor 1

(1546 Goopatd RD Frm oSllb

State ZIP Code
Q Same as Debtor 1

From

Number Street

Number Street fs 0g 4

To

lroyae
DUAAID Mt ‘(38424
City State ZIP Code City

UL] No
@ Yes, Make sure you fill out Schedule H: Your Codebtors (Official Form 106H).

'

Ez Explain the Sources of Your Income

State ZIP Code

3. Within the last 8 years, did you ever live with a spouse or legal equivalent in a community property state or territory? (Community property
states and territories include Arizona, California, Idaho, Louisiana, Nevada, New Mexico, Puerto Rico, Texas, Washington, and Wisconsin.)

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oT

| Ravis  Rapw

Debtor 1

W inl)

First Name Middle Name

Last Name

Case number (if known)

ZO

/ $0 Oo ¢ 3

4. Did you have any income from employment or from operating a business during this year or the two previous calendar years?
Fill in the total amount of income you received from all jobs and all businesses, including part-time activities.
If you are filing a joint case and you have income that you receive together, list it only once under Debtor 1.

i No

Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:

(January 1 to December 31, 2 of )
YYYY

For the calendar year before that:

y
(January 1 to December 31, Zo ig)
YYYY

Debtor 1

Sources of income
Check all that apply.

QO Wages, commissions,
bonuses, tips

QO Operating a business

QW Wages, commissions,
bonuses, tips

Q) Operating a business

WM Wages, commissions,
bonuses, tips

Q) Operating a business

Gross income

(before deductions and
exclusions)

$ 3 5 Ooo oO

5. Did you receive any other income during this year or the two previous calendar years?
include income regardless of whether that income is taxable. Examples of other income are alimony; child support; Social Security,
unemployment, and other public benefit payments; pensions; rental income; interest; dividends; money collected from lawsuits; royalties; and
gambling and lottery winnings. If you are filing a joint case and you have income that you received together, list it only once under Debtor 1.

Debtor 2

Sources of income
Check all that apply.

O Wages, commissions,
bonuses, tips

QO Operating a business

O Wages, commissions,
bonuses, tips

Q Operating a business

QO Wages, commissions,
bonuses, tips

O Operating a business

List each source and the gross income from each source separately. Do not include income that you listed in line 4.

LI No
&) Yes. Fill in the details.

From January 1 of current year until
the date you filed for bankruptcy:

For last calendar year:
(January 1 to December 31, )
YYYY

For the calendar year before that:

(January 1 to December 31, )
YYYY

Official Form 107

Debtor 1

Sources of income
Describe below.

UNEMPLoYmenT

Gross income from
each source

(before deductions and
exclusions)

- | Debtor 2

Sources of income
Describe below.

of 6 4

Ft

Gross income

(before deductions and
exclusions)

Gross income from
each source

(before deductions and
exclusions)

Statement of Financial Affairs for Individuals Filing for Bankruptcy

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Debtor 1

Thais Ryaw Wiw €)

Case number (i known) z > 300 = $3

First Name Middle Name Last Name

iar List Certain Payments You Made Before You Filed for Bankruptcy

Official Form 107

6. Are either Debtor 1’s or Debtor 2’s debts primarily consumer debts?

“incurred by an individual primarily for a personal, family, or household purpose.”
During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $6,825* or more?

QO) No. Go to line 7.

CI Yes. List below each creditor to whom you paid a total of $6,825* or more in one or more payments and the
total amount you paid that creditor. Do not include payments for domestic support obligations, such as

child support and alimony. Also, do not include payments to an attorney for this bankruptcy case.

* Subject to adjustment on 4/01/22 and every 3 years after that for cases filed on or after the date of adjustment.

wu Yes. Debtor 1 or Debtor 2 or both have primarily consumer debts.

During the 90 days before you filed for bankruptcy, did you pay any creditor a total of $600 or more?
I No. Go to line 7.
C1 Yes. List below each creditor to whom you paid a total of $600 or more and the total amount you paid that

creditor. Do not include payments for domestic support obligations, such as child support and
alimony. Also, do not include payments to an attorney for this bankruptcy case.

Dates of
payment

Total amount paid Amount you still owe

Creditor's Name

Number Street

City State ZIP Code

Creditor's Name

Number Street

City State ZIP Code

Creditors Name

Number Street

City State ZIP Code

C] No. Neither Debtor 1 nor Debtor 2 has primarily consumer debts. Consumer debts are defined in 11 U.S.C. § 101(8) as

Was this payment for...

QO) Mortgage

Q) car

C) credit card

LI Loan repayment

QO Suppliers or vendors

Q) other

O Mortgage

O) car

QI) credit card

QO Loan repayment

Q) Suppliers or vendors

Q other

Q Mortgage

QO) car

C] credit cara

UO Loan repayment

C) Suppliers or vendors
CL] other

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f ff 23
Debtor 4 | Ravi ) W IN ©) Case number (if known) 2 O 390 2

First Name Middle Name Last Name

7. Within 1 year before you filed for bankruptcy, did you make a payment on a debt you owed anyone who was an insider?
Insiders include your relatives; any general partners; relatives of any general partners; partnerships of which you are a general partner;
corporations of which you are an officer, director, person in control, or owner of 20% or more of their voting securities; and any managing
agent, including one for a business you operate as a sole proprietor. 11 U.S.C. § 101. Include payments for domestic support obligations,
such as child support and alimony.

WY No

C) Yes. List all payments to an insider.

Insider's Name

Dates of Total amount Amount you still Reason for this payment
payment paid owe
$ $
Insiders Name
i Number Street
: City Stale ZIP Code
$ $

Number Street

City State ZIP Code

8. Within 1 year before you filed for bankruptcy, did you make any payments or transfer any property on account of a debt that benefited
an insider?
Include payments on debts guaranteed or cosigned by an insider.

& No

C) Yes. List all payments that benefited an insider.

Dates of Total amount Amount you still Reason for this payment

payment paid owe Include creditor’s name
Insider's Name $
Number = Street
City State ZIP Code

$ $
Insider's Name
Number Street
City ty State ZIP Code
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Debtor 1 TF Ravi 5 2 YA al WINES Case number (if known), d QO! 300 3 3

First Name Middle Name Last Name

az Identify Legal Actions, Repossessions, and Foreclosures

9. Within 1 year before you filed for bankruptcy, were you a party in any lawsuit, court action, or administrative proceeding?
List all such matters, including personal injury cases, small claims actions, divorces, collection suits, paternity actions, support or custody modifications,
and contract disputes.

OC) No
&] Yes. Fill in the details.

Nature of the case Court or agency Status of the case
LANpLorD / // tH or STR
i ‘y j " | — C r (sft T
i Case title & | CA AAD én S Un say = _o a D! 2 | ACT oY fi O Pending
| TENAMT Di Spvr€ . q
| J TRAVIS Wine) (lo E MACK oT On appeal
~ Number Street a Concluded
| Case number | a “Qo 2 SC Cou NZ { 88 | /
City State ZIP Code
| : | taw oe / 667 of sretcer Covre
Case title STE VEn/ N\ woe LAND ba KD : Court Name es C) Pending
V TRaAVTS Wie ) TEVA DIS pur F lo E€ MAK 5T CI on appeal
Number Street & Concluded
Case number | q “O72 7 Y LT COL Yip at Y&s [ ;
City State ZIP Code

40. Within 1 year before you filed for bankruptcy, was any of your property repossessed, foreclosed, garnished, attached, seized, or levied?
Check all that apply and fill in the details below.

No. Go to line 11.
C) Yes. Fill in the information below.

Describe the property Date Value of the property

tt

Creditors Name
Number Street Explain what happened
UI) Property was repossessed.
C) Property was foreclosed.
QC) Property was garnished.
City State ZIP Code L] Property was attached, seized, or levied.
Describe the property Date Value of the property
$
Creditar's Name
Number Street "a - 7 =",
Explain what happened
Cl Property was repossessed.
C Property was foreclosed.
ay a SPORE QO) Property was garnished.
CL) Property was attached, seized, or levied.
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 5

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TAAyS = RAAW

Debtor 1

Winyé?

First Name Middle Name

Last Name

Case number (if known).

20-30033

11. Within 90 days before you filed for bankruptcy, did any creditor, including a bank or financial institution, set off any amounts from your
accounts or refuse to make a payment because you owed a debt?

a No

LJ Yes. Fill in the details.

Creditors Name

Number Street

City State ZIP Code

12. Within 1 year before you filed for bankruptcy, was any of your property in the possession of an assignee for the benefit of

Describe the action the creditor took

Last 4 digits of account number: XXXX-—___

creditors, a court-appointed receiver, a custodian, or another official?

| @ No
QO) Yes

Date action
was taken

Amount

Ee List Certain Gifts and Contributions

13. Within 2 years before you filed for bankruptcy, did you give any gifts with a total value of more than $600 per person?

© No

L) Yes. Fill in the details for each gift.

Gifts with a total value of more than $600
i per person

Person to Whom You Gave the Gift

Number Street

City State ZIP Code

Person's relationship to you

Gifts with a total value of more than $600
per person

i
:
:
:
:
:
i

Person ta Whom You Gave the Gift

Number Street

City State ZIP Code

i Person's relationship to you

Official Form 107

Describe the gifts

Dates you gave
the gifts

Describe the gifts

Dates you gave
the gifts

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Value

Value

page 6

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Debtor 1

W/n/ ED

. >
Case number (if known) 29 300 3 x

First Name Middle Name Last Name

a No

C) Yes. Fill in the details for each gift or contribution.

Gifts or contributions to charities
that total more than $600

Describe what you contributed Date you

contributed

Charity's Name

Number Street

City State ZIP Code

List Certain Losses

44. Within 2 years before you filed for bankruptcy, did you give any gifts or contributions with a total value of more than $600 to any charity?

Value

15. Within 1 year before you filed for bankruptcy or since you filed for bankruptcy, did you lose anything because of theft, fire, other

disaster, or gambling?

i
|
| No

| CI Yes. Fill in the details.

Describe the property you lost and
how the loss occurred

Describe any insurance coverage for the loss Date of your

loss
Include the amount that insurance has paid. List pending insurance

claims on line 33 of Schedule A/B: Property.

List Certain Payments or Transfers

Value of property
lost

you consulted about seeking bankruptcy or preparing a bankruptcy petition?
Include any attorneys, bankruptcy petition preparers, or credit counseling agencies for services required in your bankruptcy.

BA No

CL) Yes. Fill in the details.

Description and value of any property transferred Date payment or
transfer was
made

Person Who Was Paid i <ccnitis

Number Street

City State ZIP Cade

Email or website address

Person Who Made the Payment, if Not You

16, Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone

Amount of payment

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Debtor 1 TRA Vi ) R IA a/ Wiw€ J Case number (if known) 2 Q JOO ; 5

First Name Middle Name Last Name

Description and value of any property transferred Date payment or Amount of
transfer was made payment

Person Who Was Paid

Number Street

City State ZIP Cade

Email or website address

Person Who Made the Payment, if Not You

17. Within 1 year before you filed for bankruptcy, did you or anyone else acting on your behalf pay or transfer any property to anyone who
promised to help you deal with your creditors or to make payments to your creditors?
Do not include any payment or transfer that you listed on line 16.

@ No

CJ Yes. Fill in the details.

Description and value of any property transferred Date payment or Amount of payment
transfer was
al made
Person Who Was Paid i
Number Street $
|
| $

i
|
:
i
}
t

City State ZIP Cade

18. Within 2 years before you filed for bankruptcy, did you sell, trade, or otherwise transfer any property to anyone, other than property
transferred in the ordinary course of your business or financial affairs?
Include both outright transfers and transfers made as security (such as the granting of a security interest or mortgage on your property).
Do not include gifts and transfers that you have already listed on this statement.

EK) No
QO) Yes. Fill in the details.

i

Description and value of property Describe any property or payments received Date transfer
transferred or debts paid in exchange was made

4 Person Who Received Transfer

' Number Street

'

i City State ZIP Code

Person's relationship to you

| Person Who Received Transfer

|

i Number Street

:

}

:

i Cily State ZIP Cade

i Person's relationship to you

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Debtor 4 T RA V/ j RYAM Wlv€ ) Case number (if known), ZO : ; Do 3 3

First Name Middle Name Last Name

i

i 19.Within 10 years before you filed for bankruptcy, did you transfer any property to a self-settled trust or similar device of which you
are a beneficiary? (These are often called asset-protection devices.)

a No
CI Yes. Fill in the details.

Description and value of the property transferred Date transfer
was made

Name of trust

List Gortaln Financial Accounts, Instruments, Safe Deposit Boxes, and Storage Units

20. Within 1 year before you filed for bankruptcy, were any financial accounts or instruments held in your name, or for your benefit,
closed, sold, moved, or transferred?
Include checking, savings, money market, or other financial accounts; certificates of deposit; shares in banks, credit unions,
brokerage houses, pension funds, cooperatives, associations, and other financial institutions.

& No

DO Yes. Fill in the details.

Last 4 digits of account number Type of account or Date account was Last balance before
instrument closed, sold, moved, closing or transfer
or transferred
Name of Financial Institution
XXXX= O) checking $
QO Savings

Number Street
Q Money market

O Brokerage

City State ZIP Code oO Other
XXXK— CI checking $
Name of Financial Institution —
QO) Savings
Number Street CO) Money market

QO Brokerage

Q Other.

City State ZIP Code

21. Do you now have, or did you have within 1 year before you filed for bankruptcy, any safe deposit box or other depository for
securities, cash, or other valuables?
No
O) Yes. Fill in the details.

Who else had access to it? Describe the contents Do you still
a Pa ™. have it?
O No

Name of Financial Institution Name QO) Yes
Number Street Number Street

City State ZIP Code
City State ZIP Code

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Debtor 1 TAA V / ) R YAW WINE ) Case number (if known), 20 . 30 O 3 5

First Name Middle Name Last Name

22. Have you stored property in a storage unit or place other than your home within 1 year before you filed for bankruptcy?

[2 No

O) Yes. Fill in the details.

Who else has or had access to it? Describe the contents Do you still
1. s. _ have it?
OC) No
Name of Storage Facility Name Q Yes
Number Street Number Street

City State ZIP Code

City State ZIP Code

Identify Property You Hold or Control for Someone Else

23. Do you hold or control any property that someone else owns? Include any property you borrowed from, are storing for,
or hold in trust for someone.
WY No
LI Yes. Fill in the details.
Where is the property? Describe the property Value

Owner's Name $

Number Street

Number Street

City State ZIP Code

City State ZIP Code

Velaatte Give Detalls About Environmental Information

| For the purpose of Part 10, the following definitions apply:

i = Environmental law means any federal, state, or local statute or regulation concerning pollution, contamination, releases of
i hazardous or toxic substances, wastes, or material into the air, land, soil, surface water, groundwater, or other medium,
including statutes or regulations controlling the cleanup of these substances, wastes, or material.

ug Site means any location, facility, or property as defined under any environmental law, whether you now own, operate, or
utilize it or used to own, operate, or utilize it, including disposal sites.

= Hazardous material means anything an environmental law defines as a hazardous waste, hazardous substance, toxic
substance, hazardous material, pollutant, contaminant, or similar term.

Report all notices, releases, and proceedings that you know about, regardless of when they occurred.

24.Has any governmental unit notified you that you may be liable or potentially liable under or in violation of an environmental law?

‘ No
Yes. Fill in the details.

Governmental unit Environmental law, if you know it Date of notice
Name of site Governmental unit
Number Street Number Street
City State ZIP Code
City State ZIP Code
Official Form 107 Statement of Financial Affairs for Individuals Filing for Bankruptcy page 10

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Debtor 1

TRAVIS KNanw WINES

First Name Middle Name

25. Have you notified any governmental unit of any release of hazardous material?

Gd No

CI Yes. Fill in the details.

Last Name

Governmental unit

€ No

C1 Yes. Fill in the details.

Case title,

Name of site Governmental unit
Number Street Number Street

City State ZIP Code
City State ZIP Code

Court or agency

Court Name

Number Street

Case number

City State ZIP Code

Case number (if known)

Environmental law, if you know it

Lo - 305}?

Date of notice

26. Have you been a party in any judicial or administrative proceeding under any environmental law? Include settlements and orders.

Status of the

Nature of the case

Give Detalls About Your Business or Connections to Any Business

case

oO Pending
‘Qon appeal
oO Concluded

| 27. Within 4 years before you filed for bankruptcy, did you own a business or have any of the following connections to any business?

0) An owner of at least 5% of the voting or equity securities of a corporation

Q No. None of the above applies. Go to Part 12.
O) Yes. Check all that apply above and fill in the details below for each business.

Describe the nature of the business

Business Name

Number Street

Name of accountant or bookkeeper

Official Form 107

Statement of Financial Affairs for Individuals Filing for Bankruptcy

_ City State ZipCode ‘ ce
Describe the nature of the business
Business Name oo a
Number Street at st
Name of accountant or bookkeeper
City State ZIP Code

CJ Asole proprietor or self-employed in a trade, profession, or other activity, either full-time or part-time
Q) A member of a limited liability company (LLC) or limited liability partnership (LLP)
Oa partner in a partnership

O An officer, director, or managing executive of a corporation

Employer Identification number

_ Do not include Social Security number or ITIN.

EIN: -

Dates business existed

From To

Employer Identification number
Do not include Social Security number or ITIN.

EIN: -

Dates business existed

From To

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Debtor 1 / KAv/ } lA iv WIV/¢ ) Gase number (if known) ZO 5 Qo 2 5

First Name Middle Name Last Name

Employer Identification number
Do not include Social Security number or ITIN.

Describe the nature of the business

Business Name
EIN? 0 2 See ee
bi Street i i i
Number Stree Name of accountant or bookkeeper Dates business existed
From To
City State ZIP Code

28. Within 2 years before you filed for bankruptcy, did you give a financial statement to anyone about your business? Include all financial
institutions, creditors, or other parties.

No
CO Yes. Fill in the details below.

Date issued

Name MMIDDIYYYY

Number Street

City State ZIP Code

| have read the answers on this Statement of Financial Affairs and any attachments, and | declare under penalty of perjury that the
answers are true and correct. | understand that making a false statement, concealing property, or obtaining money or property by fraud
in connection with a bankruptcy case can result in fines up to $250,000, or imprisonment for up to 20 years, or both.

18 U.S.C. §§ 152, 1341, 1519, and 3571.

Signature of Debtor 1 Signature of Debtor 2
Date ol-2/-2o2 7 Date
Did you attach additional pages to Your Statement of Financial Affairs for Individuals Filing for Bankruptcy (Official Form 107)?

H No
Cl Yes

Did you pay or agree to pay someone who is not an attorney to help you fill out bankruptcy forms?

LY No
C1 Yes. Name of person . Attach the Bankruptcy Petition Preparer's Notice,
Declaration, and Signature (Official Form 119).
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